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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 Consumer Financial Protection Bureau,

               Plaintiff,                           Case No. 24-cv-4610 (NEB/TNL)

 v.
                                                       ORDER STAYING CASE
 Walmart Inc. & Branch Messenger, Inc.,

               Defendants.


      This matter is before the Court on Defendant Walmart Inc. and Defendant Branch

Messenger, Inc.’s Unopposed Motion to Stay Case and Vacate Existing Case Deadlines,

ECF No. 28. Based on the unopposed Motion, Memorandum in Support, and Declaration

of Kristin K. Zinsmaster, the Court finds good cause to grant the unopposed Motion.

      Accordingly, IT IS HEREBY ORDERED that:

      1.     Defendants’ Unopposed Motion to Stay Case and Vacate Existing Case

Deadlines, ECF No. 28, is GRANTED.

      2.     The hearing on this Motion set for March 6, 2025 at 1:30 PM is STRICKEN

from this Court’s calendar.

      3.     This matter is STAYED until further Court Order.

      4.     All deadlines, including Defendants’ March 7, 2025, deadline to respond to

Plaintiff’s Complaint are VACATED.

      5.     The parties shall contact the Magistrate Judge on or shortly before May 16,

2025, to schedule a status conference.
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Dated: February 20, 2025           s/Tony N. Leung
                                   Tony N. Leung
                                   United States Magistrate Judge
                                   District of Minnesota

                                   Consumer Financial Protection Bureau v.
                                   Walmart Inc. & Branch Messenger, Inc.,
                                   Case No. 24-cv-4610 (NEB/TNL)




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